     Case 2:22-cv-04189-FMO-AGR Document 11 Filed 07/22/22 Page 1 of 2 Page ID #:30



       SO. CAL. EQUAL ACCESS GROUP
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 5
      Attorneys for Plaintiff
 6    DEONDRE RAGLIN
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10    DEONDRE RAGLIN,                                   Case No.: 2:22-cv-04189-FMO (AGRx)
11
                   Plaintiff,
12                                                      NOTICE OF VOLUNTARY
            vs.                                         DISMISSAL OF ENTIRE ACTION
13                                                      WITH PREJUDICE
14    HACIA ARRIBA, LLC; and DOES 1 to
      10,
15
                   Defendants.
16
17
18          PLEASE TAKE NOTICE that DEONDRE RAGLIN
19     (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby

20    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
21    Procedure Rule 41(a)(1) which provides in relevant part:
22          (a) Voluntary Dismissal.
23                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24                        and any applicable federal statute, the plaintiff may dismiss an action
25                        without a court order by filing:
26                        (i)     A notice of dismissal before the opposing party serves either an
27                                answer or a motion for summary judgment.
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:22-cv-04189-FMO-AGR Document 11 Filed 07/22/22 Page 2 of 2 Page ID #:31




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: July 22, 2022                  SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                          By:     /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
 9                                                Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
